                           Case 3:23-cv-06522-MMC Document 75-1 Filed 01/26/24 Page 1 of 3


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                           Attorneys for Defendants Internet Archive, Brewster
                       9   Kahle, George Blood, and George Blood L.P.

                   10
                                                    UNITED STATES DISTRICT COURT
                   11                             NORTHERN DISTRICT OF CALIFORNIA
                                                       SAN FRANCISCO DIVISION
                   12
                                                                          Case No. 3:23-cv-06522-MMC
                   13      UMG RECORDINGS, INC., CAPITOL
                           RECORDS, LLC, CONCORD BICYCLE                  DECLARATION OF ANDREW M. GASS IN
                   14      ASSETS, LLC, CMGI RECORDED MUSIC               SUPPORT OF DEFENDANTS INTERNET
                           ASSETS LLC, SONY MUSIC                         ARCHIVE, KAHLE, BLOOD, AND
                   15      ENTERTAINMENT, and ARISTA MUSIC,               GEORGE BLOOD L.P.’S MOTION TO
                                                                          DISMISS
                   16
                                 Plaintiffs,                              Date:    March 22, 2024
                   17                                                     Time:    9:00 a.m.
                                                                          Place:   Courtroom 7, 19th Floor
                   18      v.                                             Judge:   Hon. Maxine M. Chesney
                   19
                           INTERNET ARCHIVE, BREWSTER
                   20      KAHLE, KAHLE/AUSTIN FOUNDATION,
                           GEORGE BLOOD, and GEORGE BLOOD
                   21      L.P.,
                   22            Defendants.
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                                                                                            CASE NO. 3:23-cv-06522-MMC
ATTOR NEY S A T LA W
 SAN FRANCISCO
                                                                                   DECLARATION OF ANDREW M. GASS ISO
                                                                                                   MOTION TO DISMISS
                           Case 3:23-cv-06522-MMC Document 75-1 Filed 01/26/24 Page 2 of 3


                       1          I, Andrew M. Gass, am a partner at the law firm of Latham & Watkins LLP, 505

                       2   Montgomery Street, Suite 2000, San Francisco, California 94111. I am admitted to the Bar of the

                       3   State of California. I submit this declaration in support of Defendants Internet Archive, Brewster

                       4   Kahle, George Blood, and George Blood L.P.’s motion to dismiss Plaintiffs’ complaint, filed

                       5   concurrently with this declaration. I declare under penalty of perjury, pursuant to 28 U.S.C.

                       6   § 1746, as follows:

                       7              1. Attached hereto as Exhibit A is a true and correct copy of the July 22, 2020, letter

                       8                  sent by Kenneth L. Doroshow on behalf of the Recording Industry Association of

                       9                  America (“RIAA”) to the Internet Archive, first referenced at paragraph 80 of the

                   10                     complaint.

                   11                 2. Attached hereto as Exhibit B is a true and correct copy of the August 21, 2020,

                   12                     response to the RIAA’s letter sent by Brewster Kahle on behalf of the Internet

                   13                     Archive, referenced at paragraph 81 of the complaint.

                   14                 3. Attached hereto as Exhibit C is a true and correct copy of Kelsey Kennedy, A

                   15                     Wayback Machine for Early 20th Century Tunes, Atlas Obscura (May 4, 2017),

                   16                     https://www.atlasobscura.com/articles/internet-archive-78-records-phonograph.

                   17                 4. Attached hereto as Exhibit D is a true and correct copy of Dani Deahl, Over 50,000

                   18                     Digitized Pieces of Vinyl Can Now Be Listened to on Internet Archive, Verge (Aug.

                   19                     12, 2017), https://www.theverge.com/2017/8/12/16126346/50000-digitized-vinyl-

                   20                     internet-archive-great-78-project.

                   21                 5. Attached hereto as Exhibit E is a true and correct copy of Daniel Sanchez, 30,000

                   22                     Dusty 78rpm Vinyl Records Are Now in a Digital Archive, Digit. Music News (Aug.

                   23                     10, 2017), https://www.digitalmusicnews.com/2017/08/10/78rpm-vinyl-records-

                   24                     digital-archive/.

                   25                 6. Attached hereto as Exhibit F is a true and correct copy of Dan DeLuca, “The Great

                   26                     78 Project” Is Giving History Digital Life, in Chestnut Hill, Phila. Inquirer (Sept.
                   27                     14, 2017), https://www.inquirer.com/philly/entertainment/music/great-78-project-

                   28                     vinyl-archive-chestnut-hill-20170915.html.

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 SAN FRANCISCO                                                                 1       DECLARATION OF ANDREW M. GASS ISO
                                                                                                       MOTION TO DISMISS
                           Case 3:23-cv-06522-MMC Document 75-1 Filed 01/26/24 Page 3 of 3


                       1              7. Attached hereto as Exhibit G is a true and correct copy of Alexa Vazquez, The

                       2                 Boston Public Library Owns 200,000 Vinyl Records—And It’s Putting Them All

                       3                 Online, WBUR (Oct. 11, 2017), https://www.wbur.org/news/2017/10/11/boston-

                       4                 library-vinyl-records.

                       5              8. Attached hereto as Exhibit H is a true and correct copy of Joe Kukura, Internet

                       6                 Archive Trying to Digitize Every Old 78 Record in Existence, SFist (Aug. 24, 2017),

                       7                 https://sfist.com/2017/08/24/internet_archive_trying_to_digitize/.

                       8              9. Attached hereto as Exhibit I is a true and correct copy of Emma Taggart, Listen to

                       9                 the Sounds of the Past With Over 70,000 Digitized 78 RPM Records Online, My

                   10                    Modern Met (Feb. 26, 2018), https://mymodernmet.com/78-rpm-records-digital-

                   11                    archive/.

                   12
                           Executed on January 26, 2024, at San Francisco, California.
                   13
                                                                       By: /s/ Andrew M. Gass
                   14                                                      Andrew M. Gass
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                                                                                              CASE NO. 3:23-cv-06522-MMC
ATTOR NEY S A T LA W
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                                                                                                     MOTION TO DISMISS
